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                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

In re:                                                         Case No. 11-30441-SGJ-13
         PHILIP S WARREN
         TERESA W WARREN
                  Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Thomas D. Powers, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/19/2011.

         2) The plan was confirmed on 06/24/2011.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
05/30/2012, 07/23/2013, 05/16/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
01/27/2012, 03/22/2013, 03/07/2014.

         5) The case was dismissed on 08/05/2014.

         6) Number of months from filing to last payment: 42.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $246,795.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



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Receipts:

           Total paid by or on behalf of the debtor              $68,604.00
           Less amount refunded to debtor                             $0.00

NET RECEIPTS:                                                                                    $68,604.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $3,985.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                         $5,455.33
    Other                                                                      $58.28
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $9,498.61

Attorney fees paid and disclosed by debtor:                     $215.00


Scheduled Creditors:
Creditor                                          Claim         Claim           Claim      Principal    Int.
Name                                  Class     Scheduled      Asserted        Allowed       Paid       Paid
ALLON FINANCIAL                Unsecured              0.00            NA             NA          0.00     0.00
ARROW FINANCIAL SERVICES       Unsecured              0.00            NA             NA          0.00     0.00
ASHLEY FUNDING SERVICES LLC    Unsecured            185.00         185.80         185.80         0.00     0.00
ASSET ACCEPT ANCE              Unsecured              0.00       1,267.87       1,267.87        17.59     0.00
ASSET ACCEPT ANCE              Unsecured              0.00       4,843.57       4,843.57        67.22     0.00
BUSH RENNER ORT HOPAEDICS      Unsecured             89.57            NA             NA          0.00     0.00
CARRINGT ON MORT GAGE SERVICE Secured            21,193.74      21,193.74      21,193.74    21,193.74     0.00
CARRINGT ON MORT GAGE SERVICE Secured           192,438.76     192,438.76     192,438.76         0.00     0.00
CENT RAL REVENUE CORP          Unsecured              0.00            NA             NA          0.00     0.00
CHASE BANK USA NA              Unsecured              0.00         464.74         464.74         0.00     0.00
CHILDREN MEDICAL CENT ER       Unsecured            843.25            NA             NA          0.00     0.00
CHILDREN MEDICAL CENT ER       Unsecured             61.20            NA             NA          0.00     0.00
CHILDRENS PLACE                Unsecured            658.00            NA             NA          0.00     0.00
CIT Y OF RICHARDSON            Secured            1,372.01       1,372.01       1,372.01         0.00     0.00
COLLECT ION                    Unsecured            145.00            NA             NA          0.00     0.00
COUNT Y OF DALLAS              Secured            1,077.17       1,077.17       1,077.17         0.00     0.00
CREDIT MANAGEMENT              Unsecured            275.00            NA             NA          0.00     0.00
CROSS COUNT RY BANK            Unsecured          2,985.96            NA             NA          0.00     0.00
DAT ASEARCH INC                Unsecured            708.00            NA             NA          0.00     0.00
DISCOVER FINANCIAL SERVICES    Unsecured          4,877.00       4,877.98       4,877.98        67.69     0.00
ENHANCED RECOVERY CORP         Unsecured              0.00            NA             NA          0.00     0.00
EXXON MOBIL                    Unsecured              0.00            NA             NA          0.00     0.00
FINANCIAL CONT ROL SVC         Unsecured            780.00            NA             NA          0.00     0.00
FIRST NAT IONAL COLLECT ION BU Unsecured              0.00            NA             NA          0.00     0.00
FIRST AR                       Unsecured          4,461.00            NA             NA          0.00     0.00
GALWAY FINANCIAL SERVICES LLC Unsecured                NA          520.76         520.76         0.00     0.00
HSBCORCHARD BANK               Unsecured            400.00            NA             NA          0.00     0.00
I C SYST EM INC                Unsecured             70.00            NA             NA          0.00     0.00
IC SYST EM INC                 Unsecured            635.00         635.76         635.76         0.00     0.00
INT ERNAL REVENUE SERVICE      Priority          30,709.44      30,709.44      30,709.44     8,812.54     0.00



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Scheduled Creditors:
Creditor                                        Claim         Claim        Claim      Principal     Int.
Name                                 Class    Scheduled      Asserted     Allowed       Paid        Paid
INT ERNAL REVENUE SERVICE         Priority     13,477.52       6,232.52    6,232.52     6,232.52       0.00
INT ERNAL REVENUE SERVICE         Unsecured          NA        3,137.56    3,137.56         0.00       0.00
INT ERNAL REVENUE SERVICE         Unsecured          NA        1,880.23    1,880.23        26.09       0.00
JEFFERSON CAPIT AL SYST EMS LLC   Unsecured          NA          480.00      480.00         0.00       0.00
JEFFERSON CAPIT AL SYST EMS LLC   Unsecured          NA          510.00      510.00         0.00       0.00
JEFFERSON CAPIT AL SYST EMS LLC   Unsecured          NA          155.00      155.00         0.00       0.00
JEFFERSON CAPIT AL SYST EMS LLC   Unsecured          NA          456.43      456.43         0.00       0.00
MEDICAL CIT Y DALLAS HOSPIT AL    Unsecured          NA          285.09      285.09         0.00       0.00
NAT IONAL CAPIT AL MANAGEMEN      Secured      20,845.55      20,845.55   20,845.55    20,845.55   1,704.56
NAT IONAL CREDIT ADJUST ERS       Unsecured         0.00            NA          NA          0.00       0.00
NCO                               Unsecured       285.00            NA          NA          0.00       0.00
NCO FINANCIAL SYST EMS            Unsecured         0.00            NA          NA          0.00       0.00
NCO INOVISION MEDCLR              Unsecured       244.00            NA          NA          0.00       0.00
NCO INOVISION MEDCLR              Unsecured       132.00            NA          NA          0.00       0.00
OAK HARBOR CAPIT AL II LLC        Unsecured     1,446.00       1,446.89    1,446.89        20.08       0.00
PALISADES ACQUISIT ION XVI LLC    Unsecured          NA        2,416.53    2,416.53        33.54       0.00
PARAMOUNT RECOVERY                Unsecured        99.00            NA          NA          0.00       0.00
PARAMOUNT RECOVERY                Unsecured       153.00            NA          NA          0.00       0.00
PENN CREDIT CORP                  Unsecured       100.00            NA          NA          0.00       0.00
PORT FOLIO RECOVERY ASSOCIAT E    Unsecured         0.00         639.38      639.38         0.00       0.00
PORT FOLIO RECOVERY ASSOCIAT E    Unsecured       307.86         233.39      233.39         0.00       0.00
PORT FOLIO RECOVERY ASSOCIAT E    Unsecured       618.00         587.86      587.86         0.00       0.00
PRIME IMAGING PART NERS LLC       Unsecured       145.70            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured       774.14            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,500.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,490.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,428.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,419.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,366.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,179.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,139.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured     1,108.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured       573.00            NA          NA          0.00       0.00
RECEIVABLE MANAGEMENT INC         Unsecured       143.00            NA          NA          0.00       0.00
RICHARDSON ISD                    Secured       2,644.59       2,644.59    2,644.59         0.00       0.00
RMS                               Unsecured         0.00            NA          NA          0.00       0.00
T RANSWORLD SYST EMS INC          Unsecured       268.00            NA          NA          0.00       0.00
UNIT ED REVENUE CORP              Unsecured       340.00            NA          NA          0.00       0.00
VANDA LLC                         Unsecured         0.00       4,198.35    4,198.35        58.26       0.00
VANDA LLC                         Unsecured         0.00       1,874.39    1,874.39        26.01       0.00
WACHOVIA                          Unsecured       982.00            NA          NA          0.00       0.00
WEST CENT RAL T X COLL B          Unsecured       270.00            NA          NA          0.00       0.00
WFNNB EXPRESS                     Unsecured         0.00            NA          NA          0.00       0.00




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $192,438.76              $0.00              $0.00
       Mortgage Arrearage                                 $21,193.74         $21,193.74              $0.00
       Debt Secured by Vehicle                            $20,845.55         $20,845.55          $1,704.56
       All Other Secured                                   $5,093.77              $0.00              $0.00
 TOTAL SECURED:                                          $239,571.82         $42,039.29          $1,704.56

 Priority Unsecured Payments:
         Domestic Support Arrearage                            $0.00              $0.00               $0.00
         Domestic Support Ongoing                              $0.00              $0.00               $0.00
         All Other Priority                               $36,941.96         $15,045.06               $0.00
 TOTAL PRIORITY:                                          $36,941.96         $15,045.06               $0.00

 GENERAL UNSECURED PAYMENTS:                              $31,097.58            $316.48               $0.00

Disbursements:

         Expenses of Administration                              $9,498.61
         Disbursements to Creditors                             $59,105.39

TOTAL DISBURSEMENTS :                                                                        $68,604.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 10/14/2014
                                               By: /s/ Thomas D. Powers
                                                                       Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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